

People v Kacee L. (2023 NY Slip Op 02084)





People v Kacee L.


2023 NY Slip Op 02084


Decided on April 25, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 25, 2023

Before: Kapnick, J.P., Kern, Friedman, Gesmer, Pitt-Burke, JJ. 


Ind. No. 1424/18 Appeal No. 93 Case No. 2018-6065 

[*1]The People of the State of New York, Respondent,
vKacee L., Defendant-Appellant.


Kramer Levin Naftalis &amp; Frankel LLP, New York (Rachel V. Czwartacky of counsel), and
Twyla Carter, The Legal Aid Society, New York (Nao Terai of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah Chamoy of counsel), for respondent



Judgment, Supreme Court, Bronx County (George Villegas, J. at plea; Harold Adler, J. at sentencing), rendered September 6, 2018, convicting defendant of criminal possession of a weapon in the second degree, adjudicating him a youthful offender, and sentencing him to five years' probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge and crime victim assistance fee, and otherwise affirmed.
Pursuant to our own interest of justice powers and with the People's consent, we
vacate the mandatory surcharge and crime victim assistance fee imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 25, 2023








